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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF INDIANA
                                    NEW ALBANY DIVISION

IN RE:                                             )       Chapter 11
                                                   )
EASTERN LIVESTOCK CO., LLC,                        )       Case No. 10-93904-BHL-11
                                                   )
                        Debtor.                    )       Hon. Basil H. Lorch III

                  PROPOSED AGENDA OF MATTERS SCHEDULED FOR
                   HEARING ON JANUARY 12, 2011 AT 10:00 A.M. EST

         James A. Knauer, the chapter 11 trustee appointed in this case ("Trustee"), by counsel,

submits this proposed agenda for the hearing scheduled for January 12, 2011 at 10:00 a.m. EST

("Hearing"). The Trustee anticipates that the matters before the Court for the Hearing will take

approximately three (3) hours.

         I.     DIAL IN INFORMATION

                The dial-in telephone number for interested parties to participate in the Hearing

by conference call is 1-888-399-7768; passcode 586676, followed by the pound ("#") key

         II.    NEW MATTERS

                1.      ["Republic Bank & Trust Company's Relief Motion"] Motion For
                        Relief From Stay And Abandonment Of Property (docket #60)

                        (a)     Trustee's Objection To Motion For Relief From Stay And
                                Abandonment Of Property (docket #161)

                       Status: Going forward

                2.      ["Friona Industries, LP, Cactus Growers, Inc., and J&F Oklahoma
                        Holdings, Inc.'s Relief Motion"] Motion For Relief From Stay (docket
                        #78)

                        (a)     Friona Industries, LP, Cactus Growers, Inc., and J&F Oklahoma
                                Holdings, Inc.'s Supplemental Motion For Relief From Stay
                                (docket #129)
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                     (b)    The First Bank and Trust Company's Objection To Motion For
                            Relief From Stay Filed By Friona Industries, LP, Cactus Growers,
                            Inc., And J & F Oklahoma Holdings, Inc. (docket #149)

                     (c)    CPC Livestock's Joinder Of Motion For Relief From Stay (docket
                            #160)

                     (d)    Trustee's Objection To Motion For Relief From Stay (docket #162)

                     (e)    Friona Industries, LP, Cactus Growers, Inc., and J&F Oklahoma
                            Holdings, Inc.'s Second Supplemental Motion For Relief From
                            Stay (docket #163)

                     (f)    Cactus Growers' Brief On Texas And Kansas Agister's Liens
                            (docket #172)

                     (g)    CPC Livestock's Joinder Of Motion For Relief From Stay (docket
                            #174)

                     (h)    Eddie Eicke/Eicke Ranch II's Joinder Of Motion For Relief From
                            Stay (docket #175)

                     (i)    Movants' Brief In Support Of Motion For Relief And Response To
                            Objections Of Trustee And First Bank And Trust (docket #179)

                     (j)    Corrected Exhibit "A" To Movants' Brief In Support Of Motion
                            For Relief And Response To Objections Of Trustee And First
                            Bank And Trust (docket #180)

                     Status: Going forward

                3.   ["Trustee's Sale Payment Motion"] Trustee's Emergency Motion
                     Regarding Payments On Debtor's Cattle Sales (docket #141)

                     (a)    Friona Industries, LP, Cactus Growers, Inc. and J&F Oklahoma
                            Holdings, Inc.'s Objection And Response To "Emergency Motion
                            Regarding Payments On Debtor's Cattle Sales" (docket #177)

                     Status: Going forward




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                4.   ["Trustee's Sale Motion"] Emergency Motion Regarding Trustee Selling
                     Debtor's Current Cattle Inventory (docket #143)

                     (a)     Friona Industries, LP, Cactus Growers, Inc. and J&F Oklahoma
                             Holdings, Inc.'s Objection And Response To "Emergency Motion
                             Regarding Trustee Selling Debtor's Current Cattle Inventory"
                             (docket #176)

                     Status: Going forward

                                          Respectfully submitted,

                                          BAKER & DANIELS LLP


                                             By:   /s/Terry E. Hall

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on January 11, 2011, a copy of the foregoing pleading was filed
electronically. Notice of this filing will be sent to the following parties through the Court's
Electronic Case Filing System. Parties may access this filing through the Court's system.
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